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VAE(rev. 5/17)                                                                                  MAR 3 0 20IB
                                                                                                                     ZJ
                                   UNITED STATES DISTRICT COURT
                                                                                          ULtHK. U.b. DISTRICT COURT
                                                  for the                                    ALFXANDRiA, VIRGINIA
                                   EASTERN DISTRICT OF VIRGINIA

U.S.A. vs. Arthur W. Henderson                              Docket No. 1:17-00-1425


                                            Petition on Probation


        COMES NOW Elissa F. Martins. PROBATION OFFICER OF THE COURT, presenting an official
report upon the conduct and attitude of Arthur W. Henderson, who was placed on supervision by the Honorable
Ivan D. Davis. United States Magistrate Judge sitting in tiie Court at Alexandria. Virginia, on the ^ day of
August. 2017. who fixed the period of supervision at six (6) months, and imposed the general terms and
conditions heretofore adopted by the Court and also imposed special conditions and terms as follows:



RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS
FOLLOWS:
                                               See AtUchmcnt(s)

PRAYING THAT THE COURT WILL ORDER a summons to be issued directing that the offender appear
before the Court to show cause why supervision should not be revoked.



Returnable Date: /4pn               M               lO -00 A-'^

ORDER OF COURT                                            I declare under the penalty of perjury that the
                                                          foregoing is true and correct.
Considered and ordered this           day of
20_/_2_ and ordered filed and made a part of the          Executed on:
records in the above case.                                                      Digitally      by Elisss F.Marlins
                                                             £&44a "p. WAndMi   Date;3018.03J9 12;21;S« 4400'


                                                          Elissa F. Martins
                                                          U.S. Probation Officer
                                                          (703) 299-2309
                             Is!
                                                          Place Alexandria. Virginia
                   Ivan D. Davis
           United States Magistrate Judge




TO CLERK'S OFFICE
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Petition on Probation
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RE: Henderson, Arthur W.

OFFENSE:       Reckless Driving, in violation of Title 32, CFR 234.17, adopting VA Code 46.2-852.

SENTENCE: The defendant was placed on supervised probation for a period of 6 months with the following
special conditions: 1) The defendant shall participate in and successfully complete an Alcohol Safety Action
Program or other alcohol treatment program as deemed appropriate by the probation office; 2) Commencing
August 4, 2017, and continuing for 6 months, the defendant may not operate a motor vehicle anywhere in the
United States except (a) to and from work, as incident to or required by work, (b) to and from court, the
probation office, and the Alcohol Safety Action Program, (c) to and from medical appointments with a schedule
provided to and approved in advance by probation; and 3) The defendant shall pay a $150 fine, $30 processing
fee, and a $10 special assessment as to 7194569 to be paid by November 4,2017.

On January 17, 2018, the Court approved the following modification: I) The defendant's supervision shall be
extended for a period of 6 months in order to complete the Alexandria Alcohol Safety Action program. Should
treatment conclude at an earlier date, supervision will conclude at that time.

ADJUSTMENT TO SUPERVISION: Mr. Henderson's adjustment to supervision has been unsatisfactory.
Mr. Henderson paid the Court ordered fines and fees in full on January 20, 2018. It is noted the court imposed
fines were due on November 4, 2017. The defendant did not obtain an official restricted operator's license
through the Virginia Department of Motor Vehicles. He has a valid license but is only permitted to drive to and
from the specific locations outlined in the Court order.

The defendant was unemployed from the beginning of supervision until he obtained employment on
November 15, 2017, as a dishwasher at the Old Country Buffet in Dale City, Virginia. Mr. Henderson quit this
employment in January 2018, stating he was having back pain as a result of the nature of the work. It is noted
that Mr. Henderson did not verbally advise this officer of the change in employment until March 23, 2018. The
defendant submitted a monthly supervision report on February 12, 2018, which indicated changed employment
and that he was not fired, but did not state when he left his previous employment. On March 29, 2018, the
undersigned contacted the defendant's prior employer to obtain more information about the nature of Mr.
Henderson's termination. This officer spoke with the restaurant manager who was unable to provide details to
this officer and provided the Human Resources (HR) main contact information. This officer left a message for
HR and is awaiting a response.

On January 8, 2018, Mr. Henderson paid the $400 fee required to enroll in the Alexandria Alcohol Safety
Action Program (ASAP). He participated in an intake/evaluation on February 7, 2018, and began classes on
February 26,2018. This officer confirmed that the defendant has attended five (5) sessions to date.

On March 29, 2018, during a phone conversation with the undersigned, Mr. Henderson admitted to recently
using crack cocaine and stated the pipe found during the arrest outlined below, belonged to him. In response to
both of these things, Mr. Henderson signed a Probation Form 49, agreeing to the modification of conditions of
supervision, to include: 1) The defendant shall participate in substance abuse testing and treatment as directed
by the probation officer.




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VIOLATIONS: The following violations are submitted for the Court's consideration.

MANDATORY CONDITION:                  COMMISSION          OF    A    CRIME       -   POSSESSION         OF       A
                                      CONTROLLED SUBSTANCE AND EXPIRED TAGS (x2).

On February 17, 2018, Mr. Henderson was issued a citation for the charge of Expired Registration by the Prince
William County Police Department. This matter is scheduled to be heard before the Prince William County
General District Court on April 2,2018.

On February 28, 2018, Mr. Henderson was issued a citation for the charge of Expired Tags and Possession of a
Controlled Substance by the Arlington County Police DeparUnent. This matter is scheduled to be heard before
the Arlington County General District Court on April 26, 2018. Mr. Henderson is on pretrial supervision in
Arlington County pending resolution of this matter. It is noted that when this officer spoke with the Pretrial
Services Officer, he noted that Mr. Henderson admitted he last used crack cocaine on March 3,2018.

The undersigned obtained a copy of the police report in this matter. The police report indicates the following
information: On February 28, 2018, a traffic stop was conducted at the intersection of North Glebe Road and
Carlin Springs Road as a result of the defendant's vehicle having expired tags. Mr. Henderson was identified as
the driver of the vehicle. There were two other individuals in the car, a male and female. Police ran criminal
record checks on all three individuals, which reflected prior narcotic convictions for each of them. A K-9 unit
was called to do a further search of the vehicle and police found an empty Newport cigarette box in the center
console with a glass tube inside of it. The glass tube was burnt at both ends and wrapped in paper towel as well
as a "chore boy", which is a coarse scouring pad made of steel wool, both of which are consistent with the use
of crackcocaine. Mr. Henderson was placed under arrest and admitted to police that the pipe belonged to him.

Through a further search. Police also found a small dark blue string back containing suspected crack cocaine
materials near the front passenger seat and a white pill bottle containing four small bags of crack cocaine and
marijuana on the other male passenger. The two other individuals in the vehicle were also arrested for
possession of a controlled substance and/or drug paraphernalia.

All field tests conducted on the drug paraphernalia and suspected drugs yielded positive results for crack
cocaine and marijuana.

MANDATORY CONDITION 3:                 YOU MUST REFRAIN FROM ANY UNLAWFUL USE OF A
                                       CONTROLLED SUBSTANCE.

On March 29, 2018, during a telephone conversation, Mr. Henderson admitted that he last used crack cocaine
on or about March 3,2018, and that he has been using crack cocaine on a monthly basis.

SPECIAL CONDITION 2:                   FAILURE       TO   FOLLOW         COURT       ORDERED         DRIVING
                                       RESTRICTIONS.


Per the Court order, the defendant is only permitted to drive (a) to and from work, as incident to or required by
work, (b) to and from court, the probation office, and the Alcohol Safety Action Program, (c) to and from
medical appointments with a schedule provided to and approved in advance by probation. As outlined above,
when Mr. Henderson was arrested and/or issued citations on February 17, 2018, and February 28, 2018, he was
not driving within the court ordered restrictions.
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RE: Henderson, Arthur W.

On March 23, 2018, and March 26, 2018, Mr. Henderson admitted to this officer that he has driven on other
occasions that were outside his court ordered restrictions.

CONDITION 2:                          FAILURE TO FOLLOW THE INSTRUCTIONS AND/OR REPORT
                                      THE PROBATION OFHCER AS DIRECTED.

This officer made attempted contacts with the defendant by email and/or phone on January 19, 2018 and
February 28, 2018, and requested Mr. Henderson to call or email this officer back. Mr. Henderson left a voice
message on March 6, 2018, stating he had bad news but left no details. After subsequent attempts to contact the
defendant on March 8, and March 20, 2018, Mr. Henderson failed to contact the undersigned. This officer
conducted an unannounced home visit on March 23, 2018, at which time, the defendant admitted to the
above-noted police contact and non-compliance.

CONDITION 4:                          YOU SHALL ANSWER TRUTHFULLY THE QUESTIONS ASKED
                                      BY YOUR PROBATION OFFICER.

On March 23, 2018, when the undersigned conducted an unannounced home visit, this officer asked the
defendant if he had police contact and if he had been using illegal drugs. Mr. Henderson initially denied police
contact and drug use. He later admitted to having police contact and driving outside of his restrictions. He
advised this officer that he had been issued a citation for Expired Tags. Initially, he failed to advise of a second
citation for the same offense and the arrest for Possession of a Controlled Substance. He initially denied drug
use and denied that the drug paraphernalia belonged to him. Upon review of the police report, the undersigned
again confronted the defendant on his drug use and it was not until March 29, 2018, that Mr. Henderson
admitted to using crack cocaine.

CONDITION 7:                          FAILURE TO NOTIFY THE PROBATION OFnCER WITHIN 72
                                      HOURS OF CHANGE IN EMPLOYMENT.

Mr. Henderson failed to notify the Probation Officer within 72 hours after quitting his employment as a
dishwasher at the Old Country Buffet in Dale City, Virginia. Mr. Henderson quit this employment in
January 2018, stating he was having back pain as a result of the nature of the work. It is noted that
Mr. Henderson did not verbally advise this officer of the change in employment until March 23, 2018. The
defendant submitted a monthly supervision report on February 12, 2018, which indicated changed employment
and that he was not fired, but did not state when he left his previous employment.

CONDITION 7:                          FAILURE TO WORK REGULARLY.

Mr. Henderson was unemployed at the start of supervision in August 2017. He obtained employment in
November 2017 and worked for less than two (2) months. Mr. Henderson has failed to work regularly since
January 2018.




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CONDITION 9;                        FAILURE TO NOTIFY THE PROBATION OFFICER WITHIN 72
                                    HOURS OF BEING ARRESTED/QUESTIONED                         BY A      LAW
                                    ENFORCEMENT OFFICER.


On February 17, 2018, and February 28, 2018, Mr. Henderson was arrested and/or questioned by the Prince
William County Police Department and the Arlington County Police Department respectively, but did not report
the contact to the Probation Officer until March 8, 2018, on his monthly supervision report and in person at an
unannounced home visit on March 23, 2018.

EFM/cdp




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